
647 S.E.2d 612 (2007)
MASOOD
v.
OIL COMPANY.
No. 94A07.
Supreme Court of North Carolina.
April 19, 2007.
Phillip J. Anthony, Kathrine D. Fisher, Raleigh, for Erwin Oil Co., et al.
Leto Copeley, Raleigh, for Masood.
Harold W. Berry, Jr., Raleigh, for Petroleum Marketers Asso.
The following order has been entered on the motion filed on the 17th day of April 2007 by N.C. Petroleum Marketers Asso. for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 19th day of April 2007."
